           Case 1:20-cv-03168-UNA Document 3 Filed 11/05/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA                              FILED
                                                                                        NOV - 5 2020
_________________________________________                                         Clerk, U.S. District & Bankruptcy
                                          )                                       Court for the District of Columbia
JERRY E. ROBERTSON,                       )
                                          )
                  Plaintiff,              )
                                          )
       v.                                 )                      Civil Action No. 20-3168 (UNA)
                                          )
JEFF. CO. ATTY’S OFFICE,                  )
                                          )
                  Defendant.              )
_________________________________________ )

                                   MEMORANDUM OPINION

        This matter is before the Court on consideration of plaintiff’s application to proceed in

forma pauperis and his pro se complaint. The plaintiff’s claims pertain to defendant’s efforts to

collect unpaid child support.

        Federal district courts have jurisdiction in civil actions arising under the Constitution,

laws or treaties of the United States. See 28 U.S.C. § 1331. In addition, federal district courts

have jurisdiction over civil actions where the matter in controversy exceeds $75,000, and the suit

is between citizens of different states. See 28 U.S.C. § 1332(a). The complaint does not

articulate a claim arising under the United States Constitution or federal law; therefore, the

plaintiff does not demonstrate federal question jurisdiction. While amount in controversy

allegedly exceeds $75,000, because the parties are citizens of Kentucky, the plaintiff fails to

establish diversity jurisdiction. Furthermore, because none of the parties appear to reside in the

District of Columbia, and because none of the events giving rise to the plaintiff’s claims occurred

here, it is doubtful that this district is the proper venue for resolution of the plaintiff’s claims.
          Case 1:20-cv-03168-UNA Document 3 Filed 11/05/20 Page 2 of 2




       The Court will grant the plaintiff’s application to proceed in forma pauperis and dismiss

the complaint without prejudice for lack of subject matter jurisdiction. An Order is issued

separately.



DATE: November 4, 2020                              /s/
                                                    KETANJI BROWN JACKSON
                                                    United States District Judge
